Case 23-13186-amc              Doc 21    Filed 01/28/24 Entered 01/28/24 14:39:12                        Desc Main
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                                            LAW OFFICES
                                 MCCALLA RAYMER LEIBERT PIERCE, LLC
                                     BANKRUPTCY DEPARTMENT
                                         1544 Old Alabama Rd
                                          Roswell, GA 30076
                                       TELEPHONE: 770-643-7200
                                        TELEFAX: 866-761-0279
                                            1-800-275-7171

                                                  January 28, 2024

Clerk, United States Bankruptcy Court
400 Robert N.C. Nix Bldg.
900 Market St.
Philadelphia, PA 19107-4299

                                   REQUEST FOR SERVICE OF NOTICES
      RE:
                      Debtor                                 Jannet E. Baxter thru Dennis Baxter POA/Next
                                                             Friend
                      Case Number                            23-13186
                      Chapter                                13
                      Secured Creditor                       US Bank Trust National Association, Not In Its
                                                             Individual Capacity But Solely As Owner Trustee For
                                                             VRMTG Asset Trust
                      Loan Number                            XXXXXX9564
Dear Sir / Madam:

            Would you be so kind as to add the following interested party to the mailing / service list in the above
   referenced case:

             US Bank Trust National Association, Not In Its Individual Capacity But Solely As Owner Trustee For
             VRMTG Asset Trust
             c/o MCCALLA RAYMER LEIBERT PIERCE, LLC
             Bankruptcy Department
             1544 Old Alabama Rd
             Roswell, GA 30076

            Please provide us with a copy of each notice of any proceeding, hearing and/or report in this matter
   including, but not limited to notices required by Bankruptcy Rules 2002(g) and the Local Rules of the
   Bankruptcy Court.

            We appreciate your courtesy in this matter. If you have any questions, please do not hesitate to call
   me.

                                              Very Truly Yours,

                                            /s/ Maria Tsagaris
                                            c/o MCCALLA RAYMER LEIBERT PIERCE, LLC
                                            1544 Old Alabama Rd
                                            Roswell, GA 30076
                                            Phone: 678-281-6532
                                            Email: Maria.Tsagaris@mccalla.com
                                            Attorney Bar No: 143071




NOA
